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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

CAROLYN THOMPSON,               §
                                §
        Plaintiff,              §
VS.                             §                        CIVIL ACTION NO. 4:12-CV-2289
                                §
LIGHTHOUSE RECOVERY ASSOCIATES, §
LLC, et al,                     §
                                §
        Defendants.             §

             ORDER OF DISMISSAL ON SETTLEMENT ANNOUNCEMENT

       The Court has been informed that a settlement of this cause of action has been reached.

The case is DISMISSED without prejudice to the right of the parties to move for reinstatement

within ninety (90) days after the entry of this order.

       It is further Ordered that the plaintiff's counsel shall submit a motion for attorney fees

and court costs within ten days of entry of this order.

       It is so Ordered.

       SIGNED on this 4th day of September, 2013.



                                                   ___________________________________
                                                   Kenneth M. Hoyt
                                                   United States District Judge




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